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                     IN THE UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF ARKANSAS
                               LITTLE ROCK DIVISION


IN RE:         PATRICIA WALKER,                                  Case No. 4:13-BK-12806-JGM
               Debtor                                                               Chapter 7


JPMORGAN CHASE BANK, N.A.                                                              MOVANT

vs.

PATRICIA WALKER, Debtor; and
JAMES F. DOWDEN, Trustee                                                        RESPONDENTS


                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY


       Comes now JPMorgan Chase Bank, N.A., hereafter “Movant,” by and through its attorneys,

Wilson & Associates, P.L.L.C., and for its Motion for Relief from the Automatic Stay and for

Abandonment, states:

       1.      Movant is the servicer of the loan evidenced by the mortgage and promissory note

executed by Patricia Swinton a/k/a Patricia Walker on March 28, 2008, to secure payment of the

principal sum of $230,000.00 to Bankers Home Mortgage Inc.. Copies of the mortgage and

promissory note are attached hereto and incorporated by reference. The mortgage covers the real

property located at 14200 Wimbledon Loop, Little Rock, Arkansas 72210, which is more

particularly described as follows:

       Lot 455, Otter Creek Community, Phase IV-A, now in the City of Little Rock, Pulaski
       County, Arkansas.

       2.      The Debtor is in default under said mortgage and promissory note due to Debtor's

failure to make the full regular monthly installment payments thereon, and the approximate

outstanding total balance due and owing under the note and security instrument is $244,928.47.
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        3.         The note and security instrument are in arrears for the installment due on August 1,

2012 in the sum of $742.72, and subsequent installments due each month thereafter.

        4.         The material default under the note and security instrument entitles Movant to relief

from the stay pursuant to 11 U.S.C. §362(d)(1) for cause.

        5.         The Debtor has failed to provide Movant with adequate protection of its interest in

the property by failing to maintain the promissory note payments to Movant. Therefore, the Court

should grant Movant relief from the automatic stay to allow Movant to to exercise its state law

remedies, including foreclosure against the property and, if appropriate, to file an unsecured claim

in this proceeding.

        6.         The above-described property is burdensome to the estate, of inconsequential value

and benefit to the estate, and should be abandoned by the Trustee.

        7.         In the event that the proceeds of any foreclosure sale exceed the amount of the

foreclosure judgment, Movant shall remit said excess proceeds to the Trustee for disbursement to

other creditors.

        8.         Movant avers that this is a core proceeding pursuant to the provisions of 28 U.S.C.

§157(b)(2) and the Federal Rules of Bankruptcy Procedure.

        9.         Movant requests that Rule 4001(a)(3) not apply in this case, in order to permit it to

immediately enforce and implement an order granting this motion.

        WHEREFORE, Movant prays:

        A.         That relief from the automatic stay provisions of 11 U.S.C. §362(d) be granted, and

that the Trustee be ordered to abandon its interest in and to the above-described property under the

provisions of 11 U.S.C. §554.




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       B.      Alternatively, that the Debtor be allowed to redeem the collateral by payment of all

sums due and owing to Movant.

       C.      That Movant have such other and further relief, both general and specific, to which it

may be entitled in the premises, including, but not limited to, a reasonable fee for the services of its

attorneys.

                                               Respectfully Submitted,

                                               WILSON & ASSOCIATES, P.L.L.C.
                                               1521 Merrill Drive, Suite D-220
                                               Little Rock, Arkansas 72211
                                               (501) 219-9388


                                               By:     /s/ Matthew McKay
                                                       Adam Perdue (2009248)
                                                       Leslie Fryxell (88096)
                                                       Scott Allen Jones (2012032)
                                                       Sherry A. Seiffert (2000119)
                                                       Matthew McKay (2007146)
                                                       John R. Roan (2013124)

                                               Attorneys for Movant




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                                     CERTIFICATE OF SERVICE

         On December 10, 2013 a copy of the foregoing was served via electronic mail, upon the
parties listed below:

        Everett O. Martindale                       James F. Dowden
        Attorney at Law                             Chapter 7 Panel Trustee
        902 West Second Street                      212 Center St., 10th Fl.
        Little Rock, AR 72201-2102                  Little Rock, AR 72201


                                             /s/ Matthew McKay
                                             Adam Perdue
                                             Leslie Fryxell
                                             Scott Allen Jones
                                             Sherry A. Seiffert
                                             Matthew McKay
                                             John R. Roan

W&A No. 355-192880 / Loan No. xxxxxx1215




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